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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS


ROBIN FORSLUND, TIMOTHY KELLY,                       Case No. 1:22-cv-04260
GEORGE LENZ JR., MATTHEW
MENTING, DONALYN NORTH, ROBIN                       JUDGE JOHN J. THARP, JR
RECTOR, ERIC OTTENHEIMER, GAIL
ROSSI, and GREGORY WILLIAMS,

       on behalf of themselves and all others
       similarly situated,

       Plaintiffs,

v.

R. R. DONNELLEY & SONS
COMPANY,


       Defendant.



                     PLAINTIFFS’ UNOPPOSED MOTION FOR
             PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

        Pursuant to Federal Rule of Civil Procedure 23(e), Plaintiffs Robin Forslund, Timothy

 Kelly, George Lenz Jr., Matthew Menting, Donalyn North, Robin Rector, Eric Ottenheimer, Gail

 Rossi, and Gregory Williams (the “Plaintiffs”) move for the entry of the Proposed Preliminary

 Approval Order submitted herewith, which seeks the preliminarily approval of a proposed class

 action settlement (the “Settlement”), certification of a proposed settlement class (the “Settlement

 Class”), and approval of a notice plan, as explained herein and in the supporting documents.

        1.      Plaintiffs respectfully request that the Court: (1) conditionally certify the Settlement

 Class for settlement purposes; (2) name Plaintiffs as Class Representatives; (3) appoint Raina C.

 Borrelli of Turke & Straus, LLP, Joseph M. Lyon of The Lyon Firm, LLC, and Gary M. Klinger
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of Milberg Coleman Bryson Phillips Grossman, PLLC as Class Counsel; (4) grant preliminary

approval of the Settlement; (5) approve the proposed Notice and direct its distribution to

Settlement Class Members; (6) set deadlines for Settlement Class Members to object or opt out;

and (7) schedule a final approval hearing, at which time the Court can consider whether to give

final approval to the Settlement.

         2.     This Motion is based upon: (1) this Motion; (2) the Memorandum of Law in

Support of Plaintiffs’ Unopposed Motion for Preliminary Approval; (3) Class Counsel’s

Declaration; (4) the Settlement Agreement; (5) the Parties’ proposed Notice program; (6) the

[Proposed] Preliminary Approval Order; (7) the records, pleadings, and papers filed in this

Action; and (8) upon such other documentary and oral evidence or argument as may be presented

to the Court at or prior to the hearing of this Motion.

         3.     Defendant does not oppose the relief requested in this motion.

         WHEREFORE, Plaintiffs request that the Court enter the proposed Preliminary Approval

Order.

 Dated: July 28, 2023                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was filed and served via the Court’s

electronic case filing system on July 28, 2023, on all counsel of record.



                                                   /s/ Gary M. Klinger
                                                   Gary M. Klinger
